Case No. 1:20-cr-00028-RM Document 1299 filed 05/15/23 USDC Colorado pg 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00028-RM-2

UNITED STATES OF AMERICA,

              Plaintiff,

v.

2.     KENIA VALLEJO-GALLO,

              Defendant.


                UNITED STATES’ MOTION TO RESTRICT DOCUMENT


       The United States of America, by and through Cole Finegan, United States

Attorney for the District of Colorado, and Cyrus Y. Chung, Assistant United States

Attorney, respectfully moves to restrict CM/ECF Documents 1297 and 1298 and any

order revealing the contents of that document for the reasons stated in the brief filed in

support of this motion.

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Case No. 1:20-cr-00028-RM Document 1299 filed 05/15/23 USDC Colorado pg 2 of 3




       The United States requests a “Level 2” restriction. Pursuant to D.C.COLO.LCrR

47.1(b), “Level 2” restriction would make the document, any order revealing the

contents of that document, and the brief filed in support of this motion accessible “to the

filing party, the affected defendant(s), the government, and the court.”



       Dated: May 15, 2023



                                          Respectfully submitted,

                                          COLE FINEGAN
                                          United States Attorney

                                     By: s/ Cyrus Y. Chung
                                         Cyrus Y. Chung
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                                             2
Case No. 1:20-cr-00028-RM Document 1299 filed 05/15/23 USDC Colorado pg 3 of 3




                              CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2023, I electronically filed the foregoing UNITED
STATES’ MOTION TO RESTRICT DOCUMENT with the Clerk of Court using the
CM/ECF system which will send notification of such filing to all e-mail addresses of
record.

                                  By:    s/Stephanie Graham
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